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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    TOM BROWN,

                         Plaintiff,                        Civil Action No.

         v.                                                COMPLAINT FOR DECLARATORY
                                                           AND INJUNCTIVE RELIEF
    WINDOW NATION, INC.,

                         Defendant.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Tom Brown (“Plaintiff”), by and through undersigned counsel, seeks a permanent

injunction requiring a change in Window Nation, Inc.’s (“Defendant”) corporate policies to cause

its websites to become, and remain, accessible to individuals with visual disabilities. In support

thereof, Plaintiff respectfully asserts as follows:

                                         INTRODUCTION

        1.      In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

        The Department [of Justice] first articulated its interpretation that the ADA applies
        to public accommodations’ websites over 20 years ago. This interpretation is
        consistent with the ADA’s title III requirement that the goods, services, privileges,
        or activities provided by places of public accommodation be equally accessible to
        people with disabilities.1


1
         See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice,
to Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018) (available at
https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf) (last
accessed Oct. 2, 2018).
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        2.      Plaintiff is legally blind. He uses a screen reader to navigate the Internet.

        3.      Screen reader “software translates the visual internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. Dec. 21, 2017) (J. Weinstein).

        The screen reading software uses auditory cues to allow a visually impaired user to
        effectively use websites. For example, when using the visual internet, a seeing user
        learns that a link may be “clicked,” which will bring her to another webpage,
        through visual cues, such as a change in the color of the text (often text is turned
        from black to blue). When the sighted user's cursor hovers over the link, it changes
        from an arrow symbol to a hand.

        The screen reading software uses auditory—rather than visual—cues to relay this
        same information. When a sight impaired individual reaches a link that may be
        “clicked on,” the software reads the link to the user, and after reading the text of
        the link says the word “clickable.”…Through a series of auditory cues read aloud
        by the screen reader, the visually impaired user can navigate a website by listening
        and responding with her keyboard.

Id. at *6-7.2

        4.      Defendant is a retailer that sells roofing, siding, doors, and windows, and related

installation services, to consumers in Maryland, Virginia, Delaware, Pennsylvania, New Jersey,

and the District of Columbia.3

        5.      Consumers       may    research     Defendant’s     products     and     services   at

www.windownation.com and www.roofingnation.com (“Websites”), websites that Defendant

owns, operates, and controls.




2
        See American Federation for the Blind, Screen Readers, available at
http://www.afb.org/prodBrowseCatResults.aspx?CatID=49 (last accessed Oct. 2, 2018)
(discussing screen readers and how they work).
3
        Window        Nation,    The      Window      Nation      Story, available at
https://www.windownation.com/about-us/ (last accessed Oct. 3, 2018).
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       6.      In addition to researching Defendant’s products and services from the comfort and

convenience of their homes, consumers may also use Defendant’s Websites to find Defendant’s

brick-and-mortar showrooms, get quotes, contact customer service, read Defendant’s customer

reviews, review important legal notices like Defendant’s Privacy Policy, and more.

       7.      Defendant is responsible for the policies, practices, and procedures concerning the

Websites’ development and maintenance.

       8.      Unfortunately, Defendant denies approximately 8.1 million4 Americans who have

difficulty seeing access to its Websites’ goods, content, and services because the Websites are

largely incompatible with the screen reader programs these Americans use to navigate an

increasingly ecommerce world.

       9.      Plaintiff brings this civil rights action against Defendant to enforce Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires, among

other things, that a public accommodation (1) not deny persons with disabilities the benefits of its

services, facilities, privileges and advantages; (2) provide such persons with benefits that are equal

to those provided to nondisabled persons; (3) provide auxiliary aids and services—including

electronic services for use with a computer screen reading program—where necessary to ensure

effective communication with individuals with a visual disability, and to ensure that such persons

are not excluded, denied services, segregated or otherwise treated differently than sighted

individuals; and (4) utilize administrative methods, practices, and policies that provide persons

with disabilities equal access to online content.



4
        Press Release, United States Census Bureau, Nearly 1 in 5 People Have a Disability in the
U.S., Census Bureau Reports Report Released to Coincide with 22nd Anniversary of the ADA (Jul.
25, 2012), available at https://www.census.gov/newsroom/releases/archives/miscellaneous/cb12-
134.html (last accessed Oct. 2, 2018) (“About 8.1 million people had difficulty seeing, including
2.0 million who were blind or unable to see.”).
                                                    3
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       10.      By failing to make its Websites available in a manner compatible with computer

screen reader programs, Defendant, a public accommodation subject to Title III, deprives blind

and visually-impaired individuals the benefits of its online goods, content, and services—all

benefits it affords nondisabled individuals—thereby increasing the sense of isolation and stigma

among these Americans that Title III was meant to redress.

       11.      Because Defendant’s Websites are not and have never been accessible, and because

upon information and belief Defendant does not have, and has never had, an adequate corporate

policy that is reasonably calculated to cause its Websites to become and remain accessible, Plaintiff

invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring:

             a) that Defendant retain a qualified consultant acceptable to Plaintiff (“Web
                Accessibility Consultant”) who shall assist it in improving the accessibility of its
                Websites, including all third party content and plug-ins, so the goods and services
                on the Websites may be equally accessed and enjoyed by individuals with vision
                related disabilities;

             b) that Defendant work with the Web Accessibility Consultant to ensure that all
                employees involved in website and content development be given web accessibility
                training on a biennial basis, including onsite training to create accessible content at
                the design and development stages;

             c) that Defendant work with the Web Accessibility Consultant to perform an
                automated accessibility audit on a periodic basis to evaluate whether Defendant’s
                Websites may be equally accessed and enjoyed by individuals with vision related
                disabilities on an ongoing basis;

             d) that Defendant work with the Web Accessibility Consultant to perform end-user
                accessibility/usability testing on at least a quarterly basis with said testing to be
                performed by humans who are blind or have low vision, or who have training and
                experience in the manner in which persons who are blind use a screen reader to
                navigate, browse, and conduct business on websites, in addition to the testing, if
                applicable, that is performed using semi-automated tools;

             e) that Defendant incorporate all of the Web Accessibility Consultant’s
                recommendations within sixty (60) days of receiving the recommendations;

             f) that Defendant work with the Web Accessibility Consultant to create a Web
                Accessibility Policy that will be posted on its Websites, along with an e-mail


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    address, instant messenger, and toll free phone number to report accessibility-
    related problems;

 g) that Defendant directly link from the footer on each page of the Websites, a
    statement that indicates that Defendant is making efforts to maintain and increase
    the accessibility of its Websites to ensure that persons with disabilities have full
    and equal enjoyment of the goods, services, facilities, privileges, advantages, and
    accommodations of the Defendant through the Websites;

 h) that Defendant accompany the public policy statement with an accessible means of
    submitting accessibility questions and problems, including an accessible form to
    submit feedback or an email address to contact representatives knowledgeable
    about the Web Accessibility Policy;

 i) that Defendant provide a notice, prominently and directly linked from the footer on
    each page of the Websites, soliciting feedback from visitors to the Websites on how
    the accessibility of the Websites can be improved. The link shall provide a method
    to provide feedback, including an accessible form to submit feedback or an email
    address to contact representatives knowledgeable about the Web Accessibility
    Policy;

 j) that Defendant provide a copy of the Web Accessibility Policy to all web content
    personnel, contractors responsible for web content, and Client Service Operations
    call center agents (“CSO Personnel”) for the Websites;

 k) that Defendant train no fewer than three of its CSO Personnel to automatically
    escalate calls from users with disabilities who encounter difficulties using the
    Websites. Defendant shall have trained no fewer than 3 of its CSO personnel to
    timely assist such users with disabilities within CSO published hours of operation.
    Defendant shall establish procedures for promptly directing requests for assistance
    to such personnel including notifying the public that customer assistance is
    available to users with disabilities and describing the process to obtain that
    assistance;

 l) that Defendant modify existing bug fix policies, practices, and procedures to
    include the elimination of bugs that cause the Websites to be inaccessible to users
    of screen reader technology;

 m) that Plaintiff, his counsel and its experts monitor the Websites for up to two years
    after the Mutually Agreed Upon Consultant validates the Websites are free of
    accessibility errors/violations to ensure Defendant has adopted and implemented
    adequate accessibility policies. To this end, Plaintiff, through his counsel and its
    experts, shall be entitled to consult with the Web Accessibility Consultant at their
    discretion, and to review any written material, including but not limited to any
    recommendations the Website Accessibility Consultant provides Defendant.




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          12.   Web-based technologies have features and content that are modified on a daily, and

in some instances an hourly, basis, and a one time “fix” to an inaccessible website will not cause

the website to remain accessible without a corresponding change in corporate policies related to

those web-based technologies. To evaluate whether an inaccessible website has been rendered

accessible, and whether corporate policies related to web-based technologies have been changed

in a meaningful manner that will cause the website to remain accessible, the website must be

reviewed on a periodic basis using both automated accessibility screening tools and end user

testing by disabled individuals.

                                   JURISDICTION AND VENUE

          13.   The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

          14.   Defendant attempts to, and indeed does so, participate in the Commonwealth’s

economic life. Defendant maintains several brick-and-mortar showrooms in Pennsylvania,

including this District, and sells its products and services to residents across the Commonwealth.

See Access Now Inc. v. Otter Products, LLC, 280 F.Supp.3d 287 (D. Mass. Dec. 4, 2017)

(exercising personal jurisdiction over forum plaintiff’s website accessibility claims against out-of-

forum website operator); Access Now, Inc. v. Sportswear, Inc., 298 F.Supp.3d 296 (D. Mass. 2018)

(same).

          15.   As described in additional detail below, Plaintiff was injured when he attempted to

access Defendant’s Websites from his home in this District but encountered barriers that denied

him full and equal access to Defendant’s online goods, content, and services.




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        16.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s claims

occurred.

                                              PARTIES

        17.     Plaintiff is and, at all times relevant hereto, has been a resident of Westmoreland

County, Pennsylvania. Plaintiff is and, at all times relevant hereto, has been legally blind and is

therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

        18.     Defendant is a Maryland corporation with its principle place of business at 8161

Maple Lawn Blvd., Suite 420, Fulton, MD 20759.

                           FACTS APPLICABLE TO ALL CLAIMS

        19.     While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods, content, and services for people with

perceptual or motor disabilities, website developers and web content developers often implement

digital technologies without regard to whether those technologies can be accessed by individuals

with disabilities. This is notwithstanding the fact that accessible technology is both readily

available and cost effective.

                                DEFENDANT’S ONLINE CONTENT

        20.     Defendant’s Websites allow consumers to research Defendant’s products and

services from the comfort and convenience of their own homes, and arrange for home delivery.

        21.     The Websites also enable consumers to find Defendant’s brick-and-mortar

showrooms, get quotes, contact customer service, read Defendant’s customer reviews, review

important legal notices like Defendant’s Privacy Policy, and more.



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       22.     Consumers may use the Websites to connect with Defendant on social media, using

sites like Facebook, Google+, Twitter, and YouTube.

                                     HARM TO PLAINTIFF
       23.     Plaintiff attempted to access the Websites from his home in Westmoreland County,

Pennsylvania. Unfortunately, because of Defendant’s failure to build its Websites in a manner that

is compatible with screen reader programs, Plaintiff is unable to understand, and thus is denied the

benefit of, much of the content and services he wishes to access on the Websites. For example,

               (a)     Defendant’s Websites do not provide text equivalents for non-text elements.

Providing text alternatives allows information to be rendered in a variety of ways by a variety of

users. A person who cannot see a picture, logo, or icon can have a text alternative read aloud using

synthesized speech. A person who cannot hear an audio file can have a text alternative displayed

so she can read it. For example, buttons throughout www.windownation.com lack alternative text

describing their purpose. Users who perceive content visually will likely recognize the Telephone

and Menu icons that appear throughout the Websites, and understand that by clicking them,

Defendant will display information about contacting customer service, as well as the other services

available on the Websites, respectively. Unfortunately, these icons are not labeled. As a result,

when Plaintiff hovers over the Telephone icon, his screen reader reads “button collapsed double

tap to expand,” only. Similarly, when Plaintiff hovers over the Menu icon, his screen reader reads

“slash link end banner.” In both instances, this alternative text is meaningless and fails to describe

each button’s purpose. As a result, Plaintiff is less likely to access the features hidden behind these

access barriers.

               (b)     Like many retailers, Defendant’s Websites include customer reviews. A

five-star rating accompanies each review. Users who perceive content visually can see whether a

particular review includes one, two, three, four, or five stars, and base their purchasing decisions

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on this information. Unfortunately, Defendant’s Websites block Plaintiff’s screen reader from

recognizing this information. As a result, he must make his purchasing decisions without the full

and equal knowledge Defendant affords consumers who do not have a visual impairment.

               (c)     Images throughout Defendant’s Websites lack alternative text describing

their content sufficiently. For example, Defendant’s www.roofingnation.com website includes an

image with text that provides, “50% OFF A New Roof! Click to View More.” This image also

includes fine print which provides, “Based on 10 square Royal Installed, APR 9.99% min. payment

1.25% sales price. Based on approved credit. 12 sq. min. max value $960, first 75 orders. 50% off

is on materials only.” Unfortunately, Defendant does not match the image with alternative text

describing this legally consequential information. Instead, when Plaintiff hovers over the image,

his screen reader reads “home with roof installed by Maryland roofing company roofing nation

link image.” Because Defendant fails to provide sufficient alternative text, it has effectively hidden

its 50%-off sale from him, as well as the terms and conditions that govern it.

       24.     These barriers, and others, deny Plaintiff full and equal access to all of the services

the Websites offer, and now deter him from attempting to use the Websites. Still, Plaintiff would

like to, and intends to, attempt to access the Websites in the future to research the products and

services the Websites offer, or to test the Websites for compliance with the ADA.

       25.     If the Websites were accessible, i.e. if Defendant removed the access barriers

described above, Plaintiff could independently research and purchase Defendant’s products and

access its other online content and services.

       26.     Though Defendant may have centralized policies regarding the maintenance and

operation of its Websites, Defendant has never had a plan or policy that is reasonably calculated

to make its Websites fully accessible to, and independently usable by, individuals with vision



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related disabilities. As a result, the complained of access barriers are permanent in nature and likely

to persist.

        27.     The law requires that Defendant reasonably accommodate Plaintiff’s disabilities by

removing these existing access barriers. Removal of the barriers identified above is readily

achievable and may be carried out without much difficulty or expense.

        28.     Plaintiff has been, and in the absence of an injunction will continue to be, injured

by Defendant’s failure to provide its online content and services in a manner that is compatible

with screen reader technology.

  DEFENDANT’S KNOWLEDGE OF WEBSITE ACCESSIBILITY REQUIREMENTS
        29.     Defendant has long known that screen reader technology is necessary for

individuals with visual disabilities to access its online content and services, and that it is legally

responsible for providing the same in a manner that is compatible with these auxiliary aids.

        30.     Indeed, the “Department [of Justice] first articulated its interpretation that the ADA

applies to public accommodations’ websites over 20 years ago.” As described above, on September

25, 2018, Assistant Attorney General Stephen E. Boyd confirmed nothing about the ADA, nor the

Department’s enforcement of it, has changed this interpretation.

         THE PARTIES HAVE NO ADMINISTRATIVE REMEDIES TO PURSUE

        31.     There is no DOJ administrative proceeding that could provide Plaintiff with Title

III injunctive relief.

        32.     While DOJ has rulemaking authority and can bring enforcement actions in court,

Congress has not authorized it to provide an adjudicative administrative process to provide

Plaintiff with relief.




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       33.     Plaintiff alleges violations of existing and longstanding statutory and regulatory

requirements to provide auxiliary aids or services necessary to ensure effective communication,

and courts routinely decide these types of effective communication matters.

       34.     Resolution of Plaintiff’s claims does not require the Court to unravel intricate,

technical facts, but rather involves consideration of facts within the conventional competence of

the courts, e.g. (a) whether Defendant offers content and services on its Websites, and (b) whether

Plaintiff can access the content and services.

                                SUBSTANTIVE VIOLATIONS

                                            COUNT I

                         Title III of the ADA, 42 U.S.C. § 12181 et seq.

       35.     The assertions contained in the previous paragraphs are incorporated by reference.

       36.     Defendant’s Websites are a place of public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7).

       37.     In the broadest terms, the ADA prohibits discrimination on the basis of a disability

in the full and equal enjoyment of goods and services of any place of public accommodation. 42

U.S.C. § 12182(a). Thus, to the extent Defendant does not provide Plaintiff with full and equal

access to its Websites, it has violated the ADA.

       38.     In more specific terms, Title III of the ADA imposes statutory and regulatory

requirements to ensure persons with disabilities are not excluded, denied services, segregated or

otherwise treated differently than other individuals as a result of the absence of auxiliary aids and

services. 42 U.S.C. § 12182(b)(2)(A); 28 C.F.R. §§ 36.303(a), (c). Under these provisions, public

accommodations must furnish appropriate auxiliary aids and services that comply with their

effective communication obligations. Id.



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        39.     Auxiliary aids and services are necessary when their absence effectively excludes

an individual from participating in or benefiting from a service, or fails to provide a like experience

to the disabled person.

        40.     Auxiliary aids and services include, but are not limited to, audio recordings, screen

reader software, magnification software, optical readers, secondary auditory programs, large print

materials, accessible electronic and information technology, other effective methods of making

visually delivered materials available to individuals who are blind or have low vision, and other

similar services and actions. 28 C.F.R. §§ 36.303(b)(2), (4).

        41.     In order to be effective, auxiliary aids and services must be provided in accessible

formats, in a timely manner, and in such a way as to protect the privacy and independence of the

individual with a disability. 28 C.F.R. §§ 36.303(c)(1)(ii). To this end, the Ninth Circuit has

explained, “assistive technology is not frozen in time: as technology advances, [ ] accommodations

should advance as well.” Enyart v. Nat'l Conference of Bar Examiners, Inc., 630 F.3d 1153, 1163

(9th Cir. 2011).

        42.     By failing to provide its Websites’ content and services in a manner that is

compatible with auxiliary aids, Defendant has engaged, directly, or through contractual, licensing,

or other arrangements, in illegal disability discrimination, as defined by Title III, including without

limitation:

                (a)       denying individuals with visual disabilities opportunities to participate in

and benefit from the goods, content, and services available on its Websites;

                (b)       affording individuals with visual disabilities access to its Websites that is

not equal to, or effective as, that afforded others;




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               (c)     utilizing methods of administration that (i) have the effect of discriminating

on the basis of disability; or (ii) perpetuate the discrimination of others who are subject to common

administrative control;

               (d)     denying individuals with visual disabilities effective communication,

thereby excluding or otherwise treating them differently than others; and/or

               (e)     failing to make reasonable modifications in policies, practices, or

procedures where necessary to afford its services, privileges, advantages, or accommodations to

individuals with visual disabilities.

       43.     Defendant has violated Title III by, without limitation, failing to make its Websites’

services accessible by screen reader programs, thereby denying individuals with visual disabilities

the benefits of the Websites, providing them with benefits that are not equal to those it provides

others, and denying them effective communication.

       44.     Defendant has further violated Title III by, without limitation, utilizing

administrative methods, practices, and policies that allow its Websites to be made available

without consideration of consumers who can only access the company’s online goods, content,

and services with screen reader programs.

       45.     Making its online goods, content, and services compatible with screen reader

programs does not change the content of Defendant’s Websites or result in making the Websites

different, but rather enables individuals with visual disabilities to access the Websites Defendant

already provides.

       46.     Defendant’s ongoing violations of Title III have caused, and in the absence of an

injunction will continue to cause, harm to Plaintiff and other individuals with visual disabilities.




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       47.     Plaintiff’s claims are warranted by existing law or by non-frivolous argument for

extending, modifying, or reversing existing law or for establishing new law.

       48.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:

       (A)     A Declaratory Judgment that at the commencement of this action Defendant was in

violation of the specific requirements of Title III of the ADA described above, and the relevant

implementing regulations of the ADA, in that Defendant took no action that was reasonably

calculated to ensure that its Websites are fully accessible to, and independently usable by,

individuals with visual disabilities;

       (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to bring its Websites into full

compliance with the requirements set forth in the ADA, and its implementing regulations, so that

its Websites are fully accessible to, and independently usable by, blind individuals, and which

further directs that the Court shall retain jurisdiction for a period to be determined to ensure that

Defendant has adopted and is following an institutional policy that will in fact cause it to remain

fully in compliance with the law—the specific injunctive relief requested by Plaintiff is described

more fully in paragraph 11 above;

       (C)     Payment of actual, statutory, and punitive damages, as the Court deems proper;

       (D)     Payment of costs of suit;

       (E)     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment (see



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Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa.

Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee petition before the

Court surrenders jurisdiction. Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for

Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987), the fee petition may

include costs to monitor Defendant’s compliance with the permanent injunction.”); see also Access

Now, Inc. v. Lax World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11) (same);

       (F)     The provision of whatever other relief the Court deems just, equitable and

appropriate; and

       (G)     An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders.

       Dated: November 15, 2018                  Respectfully Submitted,

                                                 /s/ Benjamin J. Sweet
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